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                          1                                               ORDER
                          2            Pursuant to the stipulation of the parties, it is HEREBY ORDERED that Defendant Ching
                          3 Liang Sun and Defendant Golden Lion Transportation, Inc. dba Lion Express are hereby dismissed
                      4 with prejudice in the above-captioned matter, each party to bear their own attorney fees and costs
                      5 incurred in this matter.
                      6                           2nd day of ------�
                                       DATED this __          October 2020.
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                      8
                                                                                 United States District Judge
                      9 Submitted by:
                    10 BREMER WHYTE BROWN & O'MEARA, LLP
                    11
                    12        /�G:J-
                    13 Lucian J. Greco, Jr, Esq.
                       Nevada State Bar No. 10600
                    14 Devin R. Gifford, Esq.
                       Nevada State Bar No. 14055
                    15 Matthew J. Cook, Esq.
                       Nevada State Bar No. 15028
                    16 Attorneys for Defendants,
                       Ching Liang Sun and Golden Lion
                    17 Transportation, Inc. dba Lion Express
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